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               IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

 UNITED STATES OF AMERICA                          No. 4:24-CR-00130-02

        v.                                         (Chief Judge Brann)

 ANDREW ENSANIAN,

               Defendant.


                       ORDER APPOINTING COUNSEL

      AND NOW, this 24th day of June 2024, IT IS ORDERED that the above

named person having completed the required Financial Affidavit (Form CJA 23) in

support of a request for an attorney without payment of fee, and having certified

the same to be correct;

      AND, the Court being satisfied that this individual is not financially able to

obtain counsel and is not waiving the right to counsel;

      IT IS ORDERED that the Donald F. Martino, Esquire is hereby appointed

to represent the defendant in all matters pertaining to the above captioned case.

      If, at any time after this appointment, the Court finds that the party is

financially able to obtain counsel, or is able to make partial payment for the

representation, it may terminate the appointment of counsel or authorize payment

as provided in Title 18 United States Code, Section 3006A(f). In such an event,

the party may be required to reimburse all or part of the money expended by the
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Court in appointing Donald F. Martino, Esquire should it later be determined that

funds are available for payment.

                                      BY THE COURT:


                                      s/ Matthew W. Brann
                                      Matthew W. Brann
                                      Chief United States District Judge




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